                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA                           )
                                                   )         CASE NO. 3:22-CR-49
v.                                                 )
                                                   )         JUDGES CRYTZER/MCCOOK
BILLY ALLEN WRIGHT                                 )


TO THE HONORABLE JUDGE OF THE ABOVE COURT:

          PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

                                        ________________

       Your petitioner, the United States of America by the United States Attorney for the

Eastern District of Tennessee, respectfully shows:

                                                  I.

       That Billy Allen Wright is now in the custody of the Sheriff at the Trousdale Turner

Correctional Center located at 140 Macon Way, Hartsville, Tennessee 37074, pursuant to State

of Tennessee charges.

                                                 II.

       That there is pending against the defendant Billy Allen Wright, in this District the above-

captioned case, which is set for an Initial Appearance on June 28, 2022, at 10:00 a.m., or for his

case to be otherwise disposed of upon said indictment heretofore returned against him, in the

United States District Court for the Eastern District of Tennessee, at Knoxville, Tennessee, and

each day thereafter until said case is disposed of.

       WHEREFORE, petitioner prays that the Clerk of this Court be instructed to issue a writ

of habeas corpus ad prosequendum to the Sheriff, of the Trousdale Turner Correctional Center,

commanding him to produce the said Billy Allen Wright, before this Court at the time and place




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aforesaid for the purpose aforesaid, and that if the said Sheriff, of the Trousdale Turner

Correctional Center, so elects, the United States Marshal for the Eastern District of Tennessee, or

any other duly authorized United States Marshal or Deputy United States Marshal, be ordered

and directed to receive said Billy Allen Wright into his custody and possession at said Trousdale

Turner Correctional Center, and under safe and secure conduct to have him before the Judge of

our District Court at the time and place aforesaid for the purpose aforesaid, and to return him to

said Sheriff of the Trousdale Turner Correctional Center, as aforesaid.


                                                      FRANCIS M. HAMILTON III
                                                      UNITED STATES ATTORNEY


                                                By: s/ Cynthia F. Davidson
                                                    CYNTHIA F. DAVIDSON
                                                    Assistant United States Attorney




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